   1   Thomas H. Allen, State Bar #11160
       Khaled Tarazi, State Bar #32446
   2   ALLEN BARNES & JONES, PLC
       1850 N. Central Ave., Suite 1150
   3   Phoenix, Arizona 85004
       Ofc: (602) 256-6000
   4   Fax: (602) 252-4712
       Email: tallen@allenbarneslaw.com
   5          ktarazi@allenbarneslaw.com

   6   Attorneys for Debtor

   7

   8                              UNITED STATES BANKRUPTCY COURT

   9                                     DISTRICT OF ARIZONA

  10   In re:                                        CHAPTER 11

  11   JESSIE PAUL OGLE,                             Case No. 2:14-bk-11428-GBN

  12                   Debtor.                       DEBTOR’S SECOND AMENDED PLAN OF
                                                     REORGANIZATION DATED MAY 16, 2017
  13

  14                                   ARTICLE 1 – INTRODUCTION

  15            Jessie Paul Ogle, debtor-in-possession in the above captioned Chapter 11 Case, hereby

  16   files this Debtor’s Second Amended Plan of Reorganization Dated May 16, 2017. In addition to

  17   reviewing this Plan, all creditors and parties in interest are encouraged to consult the Disclosure

  18   Statement before voting to accept or reject this Plan. NO SOLICITATION MATERIALS

  19   OTHER THAN THE DISCLOSURE STATEMENT AND RELATED MATERIALS

  20   TRANSMITTED THEREWITH HAVE BEEN APPROVED OR AUTHORIZED BY

  21   THE BANKRUPTCY COURT IN SOLICITING ACCEPTANCES OR REJECTIONS

  22   OF THIS PLAN.

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   1                                     ARTICLE 2 – DEFINITIONS

   2           Rules of Construction. The following terms shall have the meanings specified below

   3   when used in this Plan. Wherever from the context it appears appropriate, each term stated in

   4   either the singular or the plural shall include the singular and the plural, and pronouns stated in

   5   the masculine, feminine, or neutral gender shall include the masculine, the feminine, and the

   6   neutral. The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar import refer

   7   to the Plan as a whole and not to any particular section, subsection, or clause contained in the

   8   Plan. Unless otherwise specified, all section, schedule, or exhibit references in the Plan are to

   9   the respective section in, schedule to, or exhibit to the Plan. The headings in the Plan are for

  10   convenience only and shall not limit or otherwise affect the provisions of the Plan. The rules of

  11   construction contained in Bankruptcy Code § 102 shall apply to the construction of the Plan,

  12   and unless specifically modified herein, terms that are defined by the Bankruptcy Code shall

  13   have the same meanings defined by the Code. All terms not specifically defined by this Plan

  14   shall have the meaning designated in the Bankruptcy Code, or, if not defined therein, their

  15   ordinary meanings. These definitions are a substantial and operative part of the Plan.

  16           2.1      AB&J

  17           This term means Allen Barnes & Jones, PLC.

  18           2.2      Administrative Claim.

  19           This term means every cost or expense of administration of this Case allowed under

  20   Code § 503(b) and referred to in Code § 507(a)(1), including, without limitation: a) any actual

  21   and necessary expense of preserving the estate as approved by the Bankruptcy Court; b) all

  22   Professional Fees; and c) all fees and charges assessed against the Debtor’s estate under 28

  23   U.S.C. § 1930.

  24           2.3      Allowed Claim.

  25           This term means every Claim: (a) (i) as to which a proof of such Claim has been timely

  26   filed pursuant to Sections 3.1 or 3.2 below, or (ii) which the Debtor has scheduled in his

  27   Schedules (including any amendments thereto) as liquidated in amount, not contingent, and

  28   undisputed; and in either event: (b) (i) as to which no objection to the allowance of such Claim
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   1   has been filed within any applicable time period fixed by the Bankruptcy Court, or (ii) as to

   2   which the order allowing such Claim has become a Final Order. The term “Allowed Claim”

   3   may be used throughout the Plan with each of the various Creditors’ Claims or Classes of those

   4   Claims (e.g., “Allowed Administrative Claims” or “Allowed Secured Claims”) to signify that

   5   such Claims are, will be, or must be Allowed Claims to qualify for certain treatment under the

   6   Plan.

   7           2.4    ADOR.

   8           This term means the Arizona Department of Revenue.

   9           2.5    Amelia Property.

  10           This term means the Debtor’s real property located at 8502 E. Amelia Ave., Scottsdale,

  11   AZ 85251.

  12           2.6    Ballot.

  13           This term means the Ballot for accepting or rejecting the Plan, which will be distributed

  14   to holders of Claims in Classes that are Impaired and entitled to vote on this Plan.

  15           2.7    Bankruptcy Case or Case.

  16           This term means bankruptcy case No. 2:14-bk-11428-GBN.

  17           2.8    Bankruptcy Code or Code.

  18           These terms mean Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq., as now

  19   existing or hereafter amended during this Case.

  20           2.9    Bankruptcy Court or Court.

  21           These terms mean the United States Bankruptcy Court for the District of Arizona,

  22   Phoenix Division, or any other court that exercises jurisdiction over all or part of the Case,

  23   including the United States District for the District of Arizona to the extent that the reference of

  24   all or part of the Case is withdrawn.

  25           2.10   Bankruptcy Rules or Rules.

  26           These terms mean the Federal Rules of Bankruptcy Procedure promulgated under 28

  27   U.S.C. § 2075 and the local rules of Court, as applicable during the term of the Case.

  28   ///
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   1           2.11   BofA.

   2           This term means Bank of America, N.A.

   3           2.12   Business Day.

   4           This term means every day except Saturdays, Sundays, and holidays observed by the

   5   Bankruptcy Court.

   6           2.13   Chapter 11 Professionals.

   7           This term means all professionals employed by the Estate under Bankruptcy Code § 327.

   8           2.14   Claim.

   9           This term means “claim” as defined in Bankruptcy Code § 101(5).

  10           2.15   Claimant.

  11           This term means the holder of a Claim.

  12           2.16   Class.

  13           This term means each of the categories of claims described in Article 4 of the Plan.

  14           2.17   Confirmation Date.

  15           This term means the date on which the Bankruptcy Court enters the Confirmation Order.

  16           2.18   Confirmation Hearing.

  17           This term means the hearing regarding confirmation of the Plan conducted by the

  18   Bankruptcy Court pursuant to Bankruptcy Code § 1128, including any adjournment or

  19   continuation of that hearing from time to time.

  20           2.19   Confirmation Order.

  21           This term means the order of the Bankruptcy Court confirming the Plan pursuant to

  22   Bankruptcy Code § 1129.

  23           2.20   Creditor.

  24           This term means “creditor” as defined in Bankruptcy Code § 101(10).

  25           2.21   Debtor.

  26           This term means Jessie Paul Ogle.

  27           2.22   Disclosure Statement.

  28           This term means the Debtor’s First Amended Disclosure Statement Dated May 16, 2017,
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   1   presented by the Debtor with respect to the Plan, in its present form or as it may be altered,

   2   amended, or modified.

   3           2.23   Disputed Claim.

   4           This term means every Claim: a) that is scheduled by the Debtor as disputed, contingent,

   5   or unliquidated; or b) that is not an Allowed Claim. Where performance is to be rendered under

   6   the Plan to any Creditor in respect to a Disputed Claim, such performance shall not be due

   7   (notwithstanding the occurrence of the Effective Date for all other purposes and legal effects)

   8   unless and until such Disputed Claim becomes, wholly or in part, an Allowed Claim.

   9           2.24   Effective Date.

  10           This term means the thirtieth day that occurs after the Confirmation Date.

  11           2.25   Estate.

  12           This term means the Debtor’s bankruptcy estate created under Bankruptcy Code § 541.

  13           2.26   Executory Contract.

  14           This term means every unexpired lease and other contract that is subject to being

  15   assumed or rejected under Bankruptcy Code § 365.

  16           2.27   Final Bar Date.

  17           This term means the thirtieth day that occurs after the Effective Date.

  18           2.28   Final Decree.

  19           This term means a Final Order showing that the Plan has been fully administered.

  20           2.29   Final Order.

  21           This term means an order or judgment of the Court that a) shall not have been reversed,

  22   stayed, modified or amended and the time to appeal from, or to seek review or rehearing of,

  23   shall have expired and as to which no appeal or petition for review, or hearing for certiorari is

  24   pending, or b) if appealed from, shall have been affirmed and no further hearing, appeal, or

  25   petition for certiorari can be taken or granted.

  26           2.30   General Unsecured Claim.

  27           This term means every Unsecured Claim against the Debtor (including, but not limited

  28   to, every such Claim arising from the rejection of an Executory Contract, and Unsecured Claims
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   1   of Creditors with Claims solely against the Debtor) that will be classified and paid under the

   2   Plan as the Plan provides for Class IV Claims.

   3            2.31   Impaired.

   4            This term means “impaired” as defined in Bankruptcy Code § 1124.

   5            2.32   Initial Bar Date.

   6            This term means the day prior to the date of the first hearing on the Disclosure

   7   Statement.

   8            2.33   Initial Payment Date.

   9            This term means the first calendar day of the month that occurs eleven (11) months after

  10   the Effective Date.

  11            2.34   Laredo Property.

  12            This term means the Debtor’s real property located at 1458 E. Laredo St., Chandler, AZ

  13   85225.

  14            2.35   Lewis Property.

  15            This term means the Debtor’s real property located at 4028 E. Lewis Dr., Phoenix, AZ

  16   85008.

  17            2.36   Minton Property.

  18            This term means the Debtor’s real property located at 680 W. Minton Dr., Tempe, AZ

  19   85282.

  20            2.37   Person.

  21            This term means “person” as defined in Bankruptcy Code § 101(41).

  22            2.38   Petition Date.

  23            This term means July 24, 2014, the filing date of the Debtor’s voluntary Chapter 11

  24   petition.

  25            2.39   Plan.

  26            This term means this Debtor’s Second Amended Plan of Reorganization Dated May 16,

  27   2017, and every amendment to or modification thereof, if any.

  28            2.40   Priority Tax Claim.
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   1           Any Claim of a governmental unit entitled to priority under Bankruptcy Code

   2   § 507(a)(8).

   3           2.41   Professional Fees.

   4           This term means any of the interim and final professional fees and expenses charged by

   5   the Chapter 11 Professionals.

   6           2.42   Proof of Claims Bar Date.

   7           This means any deadline fixed by the Bankruptcy Court for the filing of claims in the

   8   Bankruptcy Case (except for claims arising out of the rejection of an executory contract or an

   9   unexpired lease).

  10           2.43   Property.

  11           This term means, with respect to the Debtor, all rights, causes of action, all of the right,

  12   title and interest in and to Property (real or personal, tangible or intangible, legal or equitable,

  13   liquidated or unliquidated) of whatever type or nature, owned by the Debtor as of the Effective

  14   Date, together with Property subsequently acquired by the Debtor, and including, but not

  15   limited to, Property as defined in Bankruptcy Code § 541.

  16           2.44   Secured Claim.

  17           This term means every Claim or portion thereof that is asserted by a Creditor holding

  18   such Claim to be secured by a lien, security interest, or assignment encumbering Property in

  19   which the Debtor has an interest; provided, however, that such Claim shall be a Secured Claim

  20   only to the extent of the validity, perfection, and enforceability of the claimed lien, security

  21   interest, or assignment and only to the extent of the value of the interest of the Creditor holding

  22   such Claim against such Property.

  23           2.45   Secured Creditor.

  24           This term means every Creditor that asserts a Secured Claim in the Bankruptcy Case.

  25           2.46   Unsecured Claim.

  26           This term means all Claims asserted by Creditors of the Debtor, including deficiency

  27   Claims, dissolution Claims and Claims arising out of the rejection of Executory Contracts, other

  28   than Secured Claims, Administrative Claims, and Priority Tax Claims.
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   1           2.47   Unsecured Creditor.

   2           This term means every Creditor that asserts an Unsecured Claim in the Bankruptcy

   3   Case.
                          ARTICLE 3 – IMPORTANT DATES & DEADLINES
   4
               3.1    Initial Bar Date.
   5
               The Court originally set a hearing for _________________ at 230 N. First Avenue,
   6
       Sixth Floor, Courtroom 602, Phoenix, Arizona, to consider the adequacy of the Disclosure
   7
       Statement and set the day prior to such hearing as the Initial Bar Date for filing proofs of
   8
       Claim. For eligibility as Allowed Claims, proofs of Claim must be filed for:
   9
                 a) Claims not listed in the Schedules of Assets and Liabilities, as may be amended
  10                from time to time;
  11             b) Claims that are listed in the Schedules of Assets and Liabilities as disputed,
                    contingent, or unliquidated;
  12
                 c) Claims that differ in any respect from those listed in the Schedules of Assets and
  13                Liabilities (including, without limitation, the assertion of any right to a setoff
                    under Code § 553 or otherwise);
  14
                 d) Administrative Claims arising prior to the Initial Bar Date, except for Professional
  15                Fees; and
  16             e) Claims arising from the Debtor’s rejection of an Executory Contract that occurs
                    prior to the Bar Date.
  17

  18           Any Person or entity asserting one of the foregoing types of Claims that fails to timely
  19   file a proof of Claim or application for payment thereof prior to Initial Bar Date shall be
  20   deemed to have waived its Claim, and the Claim will be disallowed and forever barred.
  21           3.2    Final Bar Date.
  22           Applications for allowance and payment of a) Administrative Claims that arise after
  23   the Initial Bar Date b) Professional Fees incurred prior to the Confirmation Date, or c) Claims
  24   resulting from the Debtor’s rejection of Executory Contracts after the Initial Bar Date must be
  25   filed no later than the Final Bar Date. Any Person asserting one of the foregoing types of
  26   Claims that fails to timely file a proof of Claim or application for allowance and payment
  27   thereof shall be deemed to have waived its Claim, and the Claim will be disallowed. Any
  28   Professional Fees incurred after the Confirmation Date shall be payable in the normal course
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   1   of the Debtor’s affairs without the need to seek or obtain Bankruptcy Court approval.

   2           3.3      Claims Objection Deadline.

   3           On or before the sixtieth day after the Effective Date, the Debtor or any party in

   4   interest may file with the Bankruptcy Court, serving a copy upon Debtor’s counsel, if

   5   necessary, an objection to any application for approval of an Administrative Claim or proof of

   6   Claim filed, or deemed filed herein.

   7           3.4      Deadline for Assumption or Rejection of Executory Contracts.

   8           Prior to the Confirmation Date, the Debtor will file motions to assume or reject all

   9   Executory Contracts. Any Executory Contract not assumed prior to the Confirmation Date will

  10   be deemed rejected.

  11                  ARTICLE 4 - CLASSIFICATION AND TREATMENT OF CLAIMS

  12           This Plan defines various Classes of Claims and provides for their treatment. This Plan

  13   deals with all Claims against the Debtor of whatever character. Only Allowed Claims are

  14   entitled to receive payments under the Plan. In accordance with Bankruptcy Code §§ 1122 and

  15   1123, all Claims against the Debtor or the Estate are classified and will receive treatment as

  16   follows:

  17           4.1      Class I - Administrative Claims.

  18           Class I consists of the allowed Administrative Claims for actual and necessary costs and

  19   expenses of administration entitled to priority under Bankruptcy Code §§ 503(b) and 507(a)(1).

  20   This Class includes, without limitation, post-petition tax Claims of the IRS, ADOR, and

  21   Maricopa County; the Debtor’s attorneys’ fees; and fees due the United States Trustee, if any.

  22   AB&J has not yet filed applications for attorneys’ fees in this case. AB&J received a retainer in

  23   the amount of $15,000.00 from a third party source, which is held in the firm’s trust account.

  24   The Debtor intends to dispute any and all outstanding fees of C&P. While Plan litigation is

  25   possible, at this time the Debtor anticipates that AB&J will not accrue significant attorneys’ fees

  26   and costs in pursing confirmation of the Plan. The holders of Allowed Class I Claims shall be

  27   paid in full on the Effective Date of the Plan or upon such other terms as the Debtor and the

  28   holders of Allowed Class I Claims agree. Class I Claims are unimpaired.
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   1            4.2    Class II – Priority Claims.

   2            Class II consists of all Claims which are entitled to priority treatment pursuant to

   3   Bankruptcy Code § 507(a). Each holder of a Priority Claim in Class II is considered to be in its

   4   own separate subclass within Class II, and each such subclass is deemed to be a separate Class

   5   for purposes of the Plan. Class II consists of various subclasses of asserted priority Creditor

   6   Claims. Unless otherwise specified, holders of Allowed Priority Claims in any of the Class II

   7   subclasses shall receive payment in full within five years of the Petition Date. The first

   8   payment will be due on the Effective Date. The interest rate paid to Allowed Class II Claims

   9   shall be four percent (4.0%) per annum from the Effective Date.

  10                   4.2.1   Class II(a) – Priority Tax Claim of Arizona Department of Revenue.

  11                   Class II(a) consists of any Allowed Priority Claim of the Arizona Department of

  12   Revenue (“ADOR”) relating to individual income taxes due by the Debtor. The Allowed Class

  13   II(a) Claim is in the total amount of $1,477.04. The interest rate paid to the Allowed Class II(a)

  14   Claim shall be four percent (4.0%) per annum. The holder of the Allowed Class II(a) Claim

  15   shall receive payment of the Allowed Class II(a) Claim in full, in thirty six equal monthly

  16   payments of $43.61 beginning on the Effective Date. The ADOR also asserts a General

  17   Unsecured Claim in the amount of $4,401.49, which shall be treated and paid as an Allowed

  18   Class IV General Unsecured Claim. No prepayment penalty shall pertain to the Class II(a)

  19   Claim.

  20                   If the Debtor fails to comply with the provisions of the Plan with respect to the

  21   liability owed to the ADOR, which includes but is not limited to, the failure to make full and

  22   timely payments, such failure shall constitute a default under the Plan. If the Debtor fails to

  23   cure the default within 30 days after written notice of the default from the ADOR or its agents,

  24   the entire balance due to the ADOR shall be immediately due and owing. In the event of a

  25   default, the ADOR may enforce the entire amount of its Claim, exercise any and all rights and

  26   remedies under applicable non-bankruptcy law, which include, but are not limited to, state tax

  27   collection procedures and any other such relief as may be deemed appropriate by the

  28   Bankruptcy Court. Class II(a) is Impaired.
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   1                  4.2.2   Class II(b) - Priority Tax Claim of Internal Revenue Service.

   2                  Class II(b) consists of the Allowed Priority Claim of the Internal Revenue

   3   Service (“IRS”) relating to individual income taxes due by the Debtor. The Allowed Class II(b)

   4   Claim is in the total amount of $27,539.99. Allowed Class II(b) Claims shall be paid with

   5   interest at the statutory rate set forth in I.R.C. §§ 6621 and 6622 that is in effect during the

   6   month the Plan is Confirmed (currently 4.0% compounded daily). The holder of the Allowed

   7   Class II(b) Claim shall receive payment of the Allowed Class II(b) Claim in full, in thirty six

   8   equal monthly payments of $813.09 beginning on the Effective Date. The IRS also asserts a

   9   General Unsecured Claim in the amount of $9,705.92, which shall be treated and paid as an

  10   Allowed Class IV General Unsecured Claim. No prepayment penalty shall pertain to the Class

  11   II(b) Claim. Any alleged remaining unpaid amount for the Class II(b) Claim not otherwise

  12   receiving treatment in this Plan, including, without limitation, any additional claims for interest

  13   or penalties, shall be enjoined and discharged by the Plan.

  14                  In the event the Debtor defaults on any payment due to the holder of the Class

  15   II(b) Claim as required under the confirmed Plan, and in the event the Debtor fails to cure said

  16   default within thirty days after written notice of the default is mailed to the Debtor and the

  17   Debtor’s attorneys, the entire imposed liability together with any unpaid current liabilities, shall

  18   become due and payable immediately. The IRS may collect unpaid liabilities that become due

  19   as a result of the default through the administrative collection provision or judicial remedies as

  20   set forth in the Internal Revenue Code. The IRS shall not be required to seek a modification

  21   from the automatic stay to collect any tax liabilities from property that has revested with the

  22   Debtor. Class II(b) is Impaired.

  23           4.3    Class III – Secured Claims.

  24           Class III consists of various subclasses of asserted Secured Creditor Claims. Each

  25   holder of a Secured Claim in Class III is considered to be in its own separate subclass within

  26   Class III, and each such subclass is deemed to be a separate Class for purposes of the Plan.

  27   Unless otherwise specified below, holders of Allowed Secured Claims in any of the Class III

  28   subclasses shall receive full payment of the amount of their Allowed Secured Claims. Any of
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   1   the Debtor’s defaults under loan documents with the Allowed Secured Claimants shall be

   2   deemed cured as of the Effective Date and to the extent such loan documents provide for default

   3   resulting from the Debtor’s bankruptcy filings, such default shall not be enforceable.

   4   Notwithstanding any pre-bankruptcy agreements with Class III Claimants, the Debtor’s

   5   statement of the value of each Secured Claim shall be final unless a Creditor objects to the

   6   Debtor’s value prior to the confirmation of the Plan. Unless otherwise specified herein or in an

   7   order entered by the Bankruptcy Court, holders of Allowed Secured Claims shall retain any

   8   existing perfected liens to secure the Debtor’s obligations under the Plan. Payments to holders

   9   of Allowed Class III Secured Claims will begin on the Effective Date.

  10                  4.3.1   Class III(a) – Secured Claims of Bank of America.

  11                  Class III(a) consists of the Secured Claim of BofA relating to prepetition liens

  12   against the Amelia, Laredo, and Lewis Properties. As set forth in Section 3.1 of this Disclosure

  13   Statement, during the pendency of the Case, BofA settled litigation with the United States

  14   Department of Justice, pursuant to which BofA forgave the debt related to these liens and filed

  15   releases of the liens with the Maricopa County Recorder as follows: On October 5, 2015, BofA

  16   recorded a certain Deed of Release and Reconveyance at Recording No. 20150715187,

  17   releasing its lien against the Amelia Property; on April 5, 2016, BofA recorded a certain Deed

  18   of Release and Reconveyance at Recording No. 20160223568, releasing its lien against the

  19   Laredo Property; and on April 11, 2013, BofA recorded a certain Deed of Release and

  20   Reconveyance at Recording No. 20130326634.

  21                  Based upon BofA forgiving the Debtor’s debt and releasing the liens in

  22   connection with the Amelia, Laredo, and Lewis Properties, any and all Claims of BofA against

  23   the Debtor are deemed satisfied and BofA no longer holds any Claims in this Case. Any and all

  24   Claims of BofA against the Debtor shall be discharged as of the Effective Date. No prepayment

  25   penalty shall pertain to this Claim. Class III(a) is Impaired.

  26                  4.3.2   Class III(b) – Secured Claim of Nationstar Mortgage, LLC.

  27                  Class III(b) consists of the Allowed Secured Claim of Nationstar Mortgage, LLC

  28   (“Nationstar”) relating to its lien on the Laredo Property. As of the Petition Date, Everbank was
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   1   the holder of the Class III(b) Claim and filed Proof of Claim No. 4 in connection therewith.

   2   Everbank subsequently assigned its interest in Proof of Claim No. 4 to Nationstar. See ECF No.

   3   122. The holder of the Allowed Class III(b) Claim shall receive treatment pursuant to the Order

   4   Regarding Plan Treatment of the First Lien Encumbering Real Property Located at 1458

   5   Laredo St. Chandler, AZ 85226. No prepayment penalty shall pertain to this Claim. Class III(b)

   6   is Impaired.

   7                  4.3.3   Class III(c) – Secured Claim of Ditech.

   8                  Class III(c) consists of the Allowed Secured Claim of Ditech relating to its lien

   9   on the Lewis Property in the amount of $356,817.61. The holder of the Allowed Class III(c)

  10   Claim shall receive payment of the Allowed Class III(c) Claim in full with four percent (4%)

  11   interest per annum, in 360 equal monthly payments of principal and interest in the amount of

  12   $1,703.50. The first payment will be due on the Effective Date. Ditech shall retain its lien

  13   against the Lewis Property up to the value of the Allowed Secured Claim. No deficiency Claim

  14   exists with regard to the Class III(c) Claim and no prepayment penalty shall pertain to this

  15   Claim. Class III(c) is Impaired.

  16                  4.3.4   Class III(d) – Secured Claim of Ditech.

  17                  Class III(d) consists of the Allowed Secured Claim of Ditech relating to its lien

  18   on the Minton Property in the amount of $303,774.00. The holder of the Allowed Class III(d)

  19   Claim shall receive payment of the Allowed Class III(d) Claim in full with four percent (4%)

  20   interest per annum, in 360 equal monthly payments of principal and interest in the amount of

  21   $1,450.26. The first payment will be due on the Effective Date. Ditech shall retain its lien

  22   against the Minton Property up to the value of the Allowed Secured Claim. No deficiency claim

  23   exists with regard to the Class III(d) Claim and no prepayment penalty shall pertain to this

  24   Claim. Class III(d) is Impaired.

  25                  4.3.5   Class III(e) – Secured Claim of Polec Creditors.

  26                  Class III(e) consists of the Allowed Secured Claim of Polec Holdings, LLC and

  27   Thomas D. Polec (collectively, “Polec”) relating to their judgment in the amount of $3,976.50

  28   (“Polec Judgment”) recorded with the Maricopa County Recorder at Recording Nos.
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   1   20130032181 and 20130192760. The holder of the Allowed Class III(e) Claim shall receive

   2   payment of the Allowed Class III(e) Claim in full with three percent (3%) interest per annum, in

   3   sixty (60) equal monthly payments of principal and interest in the amount of $71.45. Upon

   4   completion of payments to Polec, the Debtor may seek an Order from the Court avoiding the

   5   lien created by the Polec Judgment, which the Debtor may thereafter file with the Maricopa

   6   County Recorder to avoid the Polec Judgment. No prepayment penalty shall pertain to the

   7   Class III(e) Claim. Class III(e) is Impaired.

   8                  4.3.6   Class III(f) – Secured Claim of Van Curen/King Creditors.

   9                  Class III(f) consists of the Allowed Secured Claim of William Van Curen and

  10   Anthony King relating to their judgment in the amount of $3,337.00 (“Van Curen/King

  11   Judgment”) recorded with the Maricopa County Recorder at Recording No. 20120964428. The

  12   holder of the Allowed Class III(f) Claim shall receive payment of the Allowed Class III(f)

  13   Claim in full with three percent (3%) interest per annum, in sixty (60) equal monthly payments

  14   of principal and interest in the amount of $59.96. Upon completion of payments to Van Curen

  15   and King (who shall collectively be entitled to one Claim), the Debtor may seek an Order from

  16   the Court avoiding the lien created by the Van Curen/King Judgment, which the Debtor may

  17   thereafter file with the Maricopa County Recorder to avoid the Van Curen/King Judgment. No

  18   prepayment penalty shall pertain to the Class III(f) Claim. Class III(f) is Impaired.

  19           4.4    Class IV – General Unsecured Creditors.

  20           Class IV consists of all Allowed Unsecured Claims that are not entitled to classification

  21   in any other class of claims. Holders of Allowed Class IV Claims shall be paid in full over five

  22   years. The Debtor shall make the payments to the holders of Allowed Class IV Claims on the

  23   first Business Day that occurs 11 months after the Effective Date (“Initial Payment Date”) and

  24   every year thereafter for four years. Interest shall accrue on Class IV Claims at the rate of three

  25   percent (3%) per annum. If a Class IV Claim is not an Allowed Claim prior to 30 days after the

  26   Effective Date, such Class IV Claim holder shall receive payment on the one year payment date

  27   that falls after its Class IV Claim becomes an Allowed Claim. Class IV is Impaired.

  28   ///
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   1                              ARTICLE 5 - PLAN IMPLEMENTATION

   2           The Debtor will implement the Plan upon entry of the Confirmation Order. Upon the

   3   Effective Date, or at such other time as specifically provided for in the Plan, Creditors holding

   4   Allowed Claims will receive the treatment provided for in the Plan. Creditors must hold

   5   Allowed Claims before they will be entitled to their respective treatment.

   6           The Plan will be funded by the Debtor’s cash on hand, post-petition income, and post-

   7   confirmation income. Unless a party in interest objects to the Debtor’s estimate of value of any

   8   asset prior to confirmation of the Plan, the value of the assets set forth in the Plan, as amended,

   9   shall be determinative.

  10                                ARTICLE 6 - VOTING PROCEDURE

  11           Creditors will vote to accept or reject the Plan. THE PLAN CANNOT BE CONFIRMED

  12   IF THE PLAN DOES NOT RECEIVE AT LEAST TWO-THIRDS (2/3) IN AMOUNT AND

  13   MORE THAN ONE-HALF (1/2) IN NUMBER OF ALLOWED CLAIMS VOTING IN EACH

  14   IMPAIRED CLASS; provided, however, if the requisite acceptances are not obtained from one or

  15   more Impaired Classes, the Court may nonetheless confirm the Plan pursuant to Code § 1129(b) if

  16   one Impaired Class accepts the Plan and the Court finds that the Plan provides, among other things,

  17   fair and equitable treatment of the Classes rejecting the Plan and that Creditors receive as much or

  18   more under the Plan than they would receive in a Chapter 7 liquidation.

  19                              ARTICLE 7 - BINDING EFFECT OF PLAN

  20           The provisions of this Plan shall bind the Debtor and any Person or entity holding a

  21   Claim against the Debtor or his Estate, whether asserted or not asserted, whether such Person or

  22   entity’s Claim arose before or after the respective Petition Date or the Effective Date, whether

  23   or not the Claim is Impaired under the Plan, and whether or not such Person or entity has

  24   accepted or rejected the Plan.

  25                             ARTICLE 8 - EFFECT OF CONFIRMATION

  26           Except as otherwise provided herein, the rights afforded in this Plan shall be in exchange

  27   for, and in complete satisfaction and release of, all Claims against the Debtor of any nature

  28   whatsoever. All holders of Claims against the Debtor shall be precluded from asserting against
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   1   the Debtor, the Estate, or the Properties of the Debtor or the Estate any other or further Claim

   2   based upon any omission, transaction or other activity of any kind or nature that occurred prior

   3   to the Effective Date. This release shall be effective as to each Claim, regardless of whether the

   4   Claim is listed on the Debtor’s Statements or Schedules filed in this Case, whether a proof of

   5   Claim was filed, whether such proof of Claim was withdrawn, whether the Claim is an Allowed

   6   Claim, in whole or in part, or whether the holder of the Claim votes to accept or reject this Plan.

   7   Upon the Effective Date, all Property of the Estate will vest in the Debtor, who, subject to the

   8   obligations set forth in the Plan, may utilize the Property free of any burdens of the Bankruptcy

   9   Code and without need to obtain Court approval of his actions. This release is not a discharge

  10   and the Debtor is entitled to a discharge only as permitted by Code § 1141(d)(2) and (5).

  11                             ARTICLE 9 - MODIFICATION OF PLAN

  12           This Plan may be modified in accordance with the provisions of the Bankruptcy Code

  13   and Chapter 11 as follows:

  14           9.1    Pre-Confirmation.

  15           In accordance with Code § 1127(a), the Debtor may propose the modification of the

  16   Plan in writing at any time before confirmation, provided that the Plan, as thus modified, meets

  17   the requirements of Code §§ 1122 and 1123, and the Debtor complies with Code § 1125.

  18           9.2    Post-Confirmation.

  19           In accordance with Code § 1127(b), the Plan also may be modified at any time after

  20   confirmation and before its substantial consummation, provided that a) the Plan as modified

  21   meets the requirements of Code §§ 1122 and 1123, b) the circumstances then existing justify

  22   such modification, and c) the Court confirms the Plan as thus modified under Code § 1129.

  23           9.3    Effect.

  24           Every modification of the Plan will supersede the previous version of the Plan as and

  25   when each modification is effective. When superseded, the previous version of the Plan will be

  26   in the nature of a withdrawn or rejected settlement proposal, and will be null, void, and

  27   unusable by the Debtor or any other party for any purposes whatsoever with respect to any of

  28   the contents of such version of the Plan.
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   1           Notwithstanding anything to the contrary contained herein, the Debtor shall not be

   2   bound by estoppel, or the principles of res judicata or collateral estoppel, with respect to any

   3   term or provision contained herein in the event the Plan is not confirmed upon the terms and

   4   provisions set forth herein.

   5                            ARTICLE 10 - RETENTION OF JURISDICTION

   6           Notwithstanding the confirmation of this Plan, the Bankruptcy Court shall retain
   7   jurisdiction for all matters arising out of, or related to, the Case and this Plan, including, but
   8   not limited to all of the following matters:
                   a) Allowance and payment of any Claims upon any objection thereto (or other
   9                   appropriate proceedings) by any party in interest entitled to proceed in that
                       manner;
  10
                      b) Determination and adjudication of any issues that arise out of or relate to a sale
  11                     of any Property;
  12                  c) Determination and adjudication of any disputes that arise regarding the
                         interpretation of any provisions of this Plan;
  13
                      d) Facilitation of the consummation of this Plan by entering, consistent with the
  14                     provisions of this Plan, any further necessary or appropriate orders regarding
                         this Plan and any provisions thereof;
  15
                      e) Adjudication of any causes of action or other proceedings presently pending or
  16                     otherwise referenced in the Plan, including but not limited to any action
                         regarding the initiation, prosecution, enforcement, compromise or settlement of
  17                     the causes of action in the Estate, and the adjudication of any and all “core
                         proceedings” under 28 U.S.C. § 157(b) that may be pertinent to the Case;
  18
                      f) Enforcement of any provisions of the Plan and any and all documents relating to
  19                     the Plan;
  20                  g) Determination and adjudication of any issues that relate to the Bankruptcy
                         Case, and any governmental unit’s Claim with respect to any tax, or any fine,
  21                     interest or penalty relating to a tax; and
  22                  h) Determination of any dispute that may arise regarding the enforcement of any
                         settlement or compromise related to the Case.
  23
                       ARTICLE 11 - RETENTION AND PROSECUTION OF CLAIMS
  24
               11.1      Preservation of Debtor’s Claims, Demands, and Causes of Action.
  25
               In accordance with Code § 1123(b)(3), all of the Debtor’s claims and causes of action
  26
       will a) survive the entry of the Confirmation Order and the Effective Date, b) not be discharged
  27
       by the Plan, and c) become and remain part of the Debtor’s Assets after the Effective Date.
  28
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   1           11.2   Procedure for Determination of Claims.

   2                  11.2.1 Disputed Claims.

   3                  Except as to any Claim that has been Allowed prior to the Effective Date, on or

   4   before the sixtieth day after the Effective Date, the Debtor or any party in interest may object

   5   to the allowance of a Claim or seek estimation thereof. See Section 3.3 above. No payments

   6   or other distributions will be made to holders of Claims unless and until such Claims are

   7   Allowed Claims pursuant to a Final Order. If a Claim is not an Allowed Claim as of the

   8   Effective Date or when payment is otherwise due under the Plan, payment of the Allowed

   9   Claim will be made when a Claim becomes an Allowed Claim after the Effective Date or as

  10   otherwise specifically provided in the Plan.

  11                  No Claim will be an Allowed Claim until timely filed objections to its allowance

  12   are resolved. The Court shall resolve all objections at a separate hearing or hearings. Any

  13   Claims not timely filed or Allowed shall be discharged by the Confirmation Order. Only

  14   Allowed Claims and interests will receive distributions from the Estate. The Debtor has the

  15   right to object to any Claim where it appears that there is some dispute with regard to the Claim

  16   as filed. Unless deemed filed pursuant to Rule 3003(b), the failure to timely file a proof of

  17   Claim will result in disallowance of the Claim.

  18                  11.2.2 Treatment of Contingent Claims.

  19                  Until such time as a contingent Claim or a contingent portion of an Allowed

  20   Claim becomes fixed or absolute or is disallowed, such Claim will be treated as a Disputed

  21   Claim for all purposes related to distributions under the Plan. The holder of a contingent Claim

  22   will only be entitled to a distribution under the Plan when and if such contingent Claim becomes

  23   an Allowed Claim.

  24                  ARTICLE 12 - PROVISIONS GOVERNING DISTRIBUTIONS

  25           12.1   Distributions by the Debtor.

  26           The Debtor will pay all Allowed Claims according to the Plan.

  27           12.2   Date of Distributions.

  28           Except as otherwise provided in the Plan, or as may be ordered by the Bankruptcy
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   1   Court, distributions of cash on account of Allowed Claims as of the Effective Date will be made

   2   as of the Effective Date or as otherwise agreed by the respective parties.             Authorized

   3   distributions to be made in accordance with the Plan will be deemed made as of the Effective

   4   Date if made on the Effective Date or as promptly thereafter as practicable, but in any event no

   5   later than thirty (30) days after the Effective Date. Distributions on account of Disputed Claims

   6   that are Allowed after the Effective Date will be made as provided in the Plan and if not so

   7   provided no later than thirty (30) days after entry of a Final Order allowing the Claim.

   8           12.3   Delivery of Distributions.

   9           Subject to Rule 9010, distributions and deliveries to each holder of an Allowed Claim

  10   will be made at the address of such holder as set forth on the respective proof of Claim as of the

  11   Effective Date (or at the last known address of such holder if no proof of Claim is filed or if the

  12   Debtor has been notified of a change of address). If any holder’s distribution is returned as

  13   undeliverable, no further distribution to such holder will be made unless and until the Debtor is

  14   notified of such holder’s then-current address, at which time all missed distributions will be

  15   made to such holder without interest. The Debtor will be under no obligation to attempt to

  16   locate the holder of any Allowed Claim or to recognize any purported transfer or encumbrance

  17   on the rights of holders of Allowed Claims after the Confirmation Date.              Amounts of

  18   undeliverable distributions will be retained by the Debtor until such distributions are claimed.

  19   Any Claimant that does not receive a distribution due to it being undeliverable must request

  20   payment on or before the first anniversary of the initial date of such payment. After such date,

  21   all unclaimed Property will be paid pro rata to the Class IV General Unsecured Creditors.

  22           12.4   Means of Payment.

  23           Payments made to holders of Allowed Claims pursuant to this Plan will be in United

  24   States dollars by checks drawn on the domestic bank selected by the Debtor.

  25           12.5   Setoff.

  26           Pursuant to Code § 553 or common law rights of setoff or recoupment, the Debtor will,

  27   in the ordinary course of his affairs, set off or assert recoupment against any Allowed Claim, the

  28   Claims, rights, and causes of action of any nature that the Debtor may hold against the holder of
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   1   such Claim; provided, however, that neither the failure to effect such a setoff nor the allowance

   2   of any Claim hereunder will constitute a waiver or release by the Debtor of any such Claims,

   3   rights, and causes of action that the Debtor may possess against such holder.

   4                              ARTICLE 13 - GENERAL PROVISIONS

   5           13.1    Extension of Payment Dates.

   6           If any date set forth in this Plan, including a payment due date, falls on a day that is not a

   7   Business Day, then such date will be the next Business Day.

   8           13.2    Notices.

   9           Any notice required or permitted to be provided under the Plan will be in writing and

  10   served by regular postage prepaid first-class mail, hand-delivery, facsimile, or e-mail.

  11           13.3    Default.

  12           If the Debtor is unable to perform in accordance with the Plan, then he will be in default.

  13   Any Creditor may seek to enforce the Plan. Before doing so, the Creditor must provide notice to

  14   the Debtor specifying the nature of the alleged default and a 30-day period to cure the default. Any

  15   notice must be in writing and sent via certified mail to the Debtor at the address on file with the

  16   Clerk of this Court and with a copy sent via certified mail to:

  17                                            Thomas H. Allen
                                                 Khaled Tarazi
  18                                    ALLEN BARNES & JONES, PLC
                                         1850 N. Central Ave., Suite 1150
  19                                         Phoenix, Arizona 85004
  20           13.4    Closure of the Case.

  21           At such time as the Plan has been fully administered (i.e., when the Plan has been

  22   substantially consummated), the Debtor will file an application for entry of a Final Decree, upon

  23   the entry of which the Case shall be deemed closed. Should the Debtor move to reopen the

  24   Case for entry of a discharge or an order avoiding a lien as described herein, all fees required to

  25   reopen the Case shall be waived.

  26           13.5    Effect of Appeal.

  27           In the event of any appeal of the Confirmation Order, and provided that no stay of the

  28   effectiveness of such Confirmation Order has been entered, the implementation and
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   1   enforcement of the Confirmation Order and the Plan according to their terms shall remain

   2   unaffected.

   3           13.6   Exculpation and Limitation of Liability.

   4           Neither the Debtor, nor any of his respective present or former employees, advisors,

   5   attorneys, or agents, will have or incur any liability to any holder of a Claim, or any other party

   6   in interest, or any of their respective agents, employees, representatives, financial advisors,

   7   attorneys, or affiliates, or any of their successors or assigns, for any act or omission in

   8   connection with, relating to, or arising out of the Case, efforts to obtain confirmation of the

   9   Plan, the consummation of the Plan, or the administration of the Plan or the property to be

  10   distributed under the Plan, whether now known or hereafter discovered, except for his gross

  11   negligence; willful, wanton, or intentional misconduct; or breaches of his fiduciary duties.

  12           13.7   General Injunction.

  13           Except as otherwise expressly provided in this Plan, the Confirmation Order shall

  14   provide, among other things, that all parties in interest who have held, hold, or may hold Claims

  15   are permanently enjoined with respect to such Claims, on and after the Effective Date, from: a)

  16   commencing or continuing in any manner any action or other proceeding of any kind; b) the

  17   enforcement, attachment, collection, or recovery by any manner or means of any judgment,

  18   award, decree, or order; c) creating, perfecting, or enforcing any encumbrance of any kind; d)

  19   asserting any setoff, right of subrogation, or recoupment of any kind against any obligation due

  20   e) conducting any form of discovery; or f) otherwise engaging in harassment. The forgoing

  21   injunction applies with regard to acts against the Debtor, his Property, his successors in interest,

  22   and the property of his successors in interest.

  23           13.8   Interest.

  24           Unless set forth specifically herein, whenever interest is to be computed under the Plan,

  25   interest will be simple interest and not compounded. Unless otherwise specifically provided for

  26   in the Plan or the Confirmation Order, post-petition interest shall not accrue or be paid on

  27   Claims, and no holder of a Claim will be entitled to interest accruing on or after the Petition

  28   Date on any Claim.
       {00009294 2}                             - 20 -
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   1            13.9   Additional Assurances.

   2            The Debtor and any party in interest holding Allowed Claims will execute such other

   3   further documents as are necessary to implement any of the provisions of the Plan.

   4            13.10 Confirmation by Non-Acceptance Method.

   5            The Debtor hereby requests, if necessary, confirmation of the Plan pursuant to Code

   6   § 1129(b) with respect to any Impaired Class of Claims that does not vote to accept the Plan.

   7            13.11 Vesting.

   8            As of the Effective Date of the Plan, the Debtor shall retain and be vested with all of the

   9   Estate’s Property. All Property shall be free and clear of all liens, Claims, and interests of

  10   Creditors and parties in interest except as specifically provided in this Plan.

  11            13.12 Successors and Assigns.

  12            The rights and obligations of any Creditor or other party-in-interest referred to in the

  13   Plan will be binding upon, and will inure to the benefit of, the successors, assigns, heirs,

  14   devisees, executors, and personal representatives of such Creditor or party in interest.

  15            13.13 Withdrawal of Plan.

  16            The Plan may be withdrawn by the Debtor at any time before entry of the Confirmation

  17   Order.

  18            13.14 Severability and Reformation.

  19            The Debtor intends to comply fully with the Bankruptcy Code and applicable non-

  20   bankruptcy law in proposing the Plan.         Therefore, if the Court determines that any Plan

  21   provision is contrary to the Bankruptcy Code or applicable non-bankruptcy law, that provision

  22   will be deemed severed and automatically deleted from the Plan if it cannot be reformed, or the

  23   provision or its interpretation will be deemed reformed to ensure compliance; provided,

  24   however, that nothing contained in this paragraph will prevent the Debtor from modifying the

  25   Plan in accordance with and as set forth in the Plan. Pursuant to any ruling by the Court

  26   regarding the subject matter of this paragraph, any such severance or reformation will be stated

  27   specifically in the Confirmation Order, which then will control notwithstanding any contrary or

  28   inconsistent provisions of the Plan.
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   1            13.15 Prohibition Against Prepayment Penalties.

   2            If the Debtor so chooses, in his sole and absolute discretion, to prepay any obligation on

   3   which deferred payments are provided for under the Plan, the Debtor will not be liable or

   4   subject to the assessment of any prepayment penalty thereon unless otherwise ordered by the

   5   Court.

   6            13.16 Payment of Statutory Fees and Filing of Quarterly Reports.

   7            Before the Case is closed, all fees payable pursuant to 28 U.S.C. § 1980, as determined

   8   by the Court at or in conjunction with the Confirmation Hearing, will be paid on or before the

   9   Effective Date and, thereafter, in accordance with applicable bankruptcy law. The Debtor will

  10   file all quarterly reports of disbursements as required by the Bankruptcy Code.

  11            13.17 Governing Law.

  12            Except to the extent that the Bankruptcy Code is applicable, the rights and obligations

  13   arising under this Plan shall be governed by, construed, and enforced in accordance with, and

  14   subject to, the laws of the State of Arizona, excluding any laws that result in the application of

  15   the laws of another jurisdiction.

  16            13.18 Special Tax Issues.

  17            The issuance, transfer, or exchange of a security as defined under the Bankruptcy Code

  18   or applicable law, or the making or delivery of any instrument of transfer under this Plan, shall

  19   not be taxed under any state or local law imposing a stamp tax or similar tax as provided in

  20   Code § 1146.

  21            13.19 Conflicts Between Plan and Confirmation Order.

  22            In the event the terms of this Plan and the Confirmation Order conflict, the terms of the

  23   Confirmation Order shall govern.

  24            RESPECTFULLY SUBMITTED this 16th day of May, 2017.
  25
                                                       /s/ Jessie Paul Ogle
  26                                                   Jessie Paul Ogle
  27
                                       -signatures continued on next page-
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       {00009294 2}                              - 22 -
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   1   APPROVED AS TO FORM AND CONTENT:
   2   ALLEN BARNES & JONES, PLC
   3
       By: /s/ THA #11160
   4       Thomas H. Allen
           Khaled Tarazi
   5       1850 N. Central Avenue, Suite 1150
           Phoenix, Arizona 85004
   6       Attorneys for Debtor
   7

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